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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                               MIAMI DIVISION

                        CASE NO.: 17-CV-22583-RNS

 MILLY MUNOZ, as personal
 representative of the Estate
 of Javier Munoz, deceased, on
 behalf of the Estate and MILLY
 MUNOZ, as surviving daughter,

       Plaintiff,
 v.

 CITY OF MIAMI,

       Defendant.                   /

       PLAINTIFF’S NOTICE OF DROPPING CIVIL RIGHTS VIOLATION COUNT

       COMES NOW Plaintiff, by and through her undersigned

 attorney, and pursuant to Rule 15(a), Fed. R. Civ. P., and files

 this Notice of Dropping Civil Rights Violation Count, as plead

 in paragraphs eleven through fifteen of her Complaint.

      We Hereby Certify a true and correct copy of the foregoing was
 electronically filed with the Clerk of Court using CM/ECF. I certify
 the foregoing document was served upon Henry J. Hunnefeld, Esq.,
 Attorney for Defendant, hjhunnefeld@miamigov.com and
 aidagarcia@miamigov.com.

                                          LAW OFFICES OF
                                          JOSEPH I. LIPSKY, P.A.
                                          Counsel for Plaintiff
                                          Cornerstone One - Suite 320
                                          1200 S. Pine Island Rd.
                                          Plantation, Florida 33324
                                          (954) 693-0073 - Telephone
                                          Email - Jil@lipskylaw.com
                                          Alt. Email- svf@lipskylaw.com

                                          S/ Joseph Lipsky
                                          JOSEPH I. LIPSKY
